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                                                                 United States District Court
                                                                   Southern District of Texas

                                                                      ENTERED
                                                                      July 10, 2023
                   UNITED STATES DISTRICT COURT
                                                                   Nathan Ochsner, Clerk
                    SOUTHERN DISTRICT OF TEXAS
                       GALVESTON DIVISION

STATE OF TEXAS, et al.,   §
                          §
    Plaintiffs,           §
                          §
VS.                       §                         3:23-cv-17
                          §
UNITED STATES             §
ENVIRONMENTAL PROTECTION §
AGENCY, et al.,           §
                          §
    Defendants,           §
                          §
BAYOU CITY WATERKEEPER,   §
                          §
    Intervenor-Defendant. §

                                 ORDER

     The court, having considered the Agencies’ motion to stay the case and

all briefing in that motion, hereby GRANTS the motion.

     The consolidated cases are stayed until publication in the Federal

Register of the Agencies’ forthcoming rule to amend the 2023 Rule (88 Fed.

Reg. 3004) consistent with the Supreme Court’s opinion in Sackett v. EPA,

143 S. Ct. 1322 (May 25, 2023). The Agencies shall notify the court and the

parties when the new rule is published in the Federal Register. The parties

shall submit a proposal or proposals for further proceedings within 21 days

after the new rule’s publication. The Agencies shall provide periodic status
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reports every 45 days during the duration of the stay, with the first status

report due 45 days from the date of this order.

     Signed on Galveston Island this 10th day of July, 2023.




                                      __________________________
                                      JEFFREY VINCENT BROWN
                                      UNITED STATES DISTRICT JUDGE
